                         Case 19-17229-LMI           Doc 59      Filed 10/17/24       Page 1 of 2




                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA


                                                                                        CASE NO.: 19-17229-BKC-LMI
INRE:                                                                                PROCEEDING UNDER CHAPTER 13

HESTER HOLT HENTON
LEROY HENTON
DEBTORS



       TRUSTEE'S MOTION TO DISMISS AND CERTIFICATE OF SERVICE OF NOTICE OF HEARING
                              (Failure to provide income verification)


Nancy K. Neidich, Standing Chapter 13 Trustee, files this Motion to Dismiss for failure to provide income verification
and states as follows:

1. This case was commenced voluntarily by the debtor with the filing of a Chapter 13 petition.

2.   Based on information provided regarding the debtor's income prior to confirmation, the Trustee believed that the
     debtor's income was understated on the Schedule I or Statement of Current Monthly Income and Disposable Income
     Calculation (CMI form).

3. To avoid an evidentiary hearing on the debtor's income, the parties agreed to yearly income verification by providing
   the Trustee with copies of their tax returns each year. The debtors willingly included a provision in their plan to
   provide the Trustee with their tax returns and modify the plan. This particular provision was a negotiated agreement
   between the parties. The debtors benefitted from the agreement and the inclusion of this provision.

4.   The debtor(s) have failed to provide the Trustee with their tax returns. The last tax returns provided to the Trustee
     was for the year 2019.

5.   The debtor's failure to comply with a term of a confirmed plan is the basis for a dismissal pursuant to 11 U.S.C.
     § 1307(c)(6). The debtor proposed the plan and is bound by the terms of the plan pursuant to 11 U.S.C.
     § 1327(c)(6). The failure to comply with the terms of the plan is a material default under 11 U.S.C.
     § 1307(c)(6). See In re: Roberts 239 B.R. 592 (Bkrty R.l, 2000), 279 B.R. 396, (1st Cir.BAP (R.I.) 2000) and 279
     F.3s 91, (1st Cir. 2002). See also In re: Valdez (10-37326-LMI ECF #136 entered November 24, 2014)

6.   If the debtor(s) provide the tax returns and there is an issue of income, the Trustee may seek dismissal for failure to
     timely provide the tax returns, a statement of current disposable income and evidence with calculation of the debtor's
     expenses.
                      Case 19-17229-LMI        Doc 59     Filed 10/17/24     Page 2 of 2




WHEREFORE, the Trustee requests that this case be dismissed and for any other such relief as may be deemed
necessary by the court.



                                          CERTIFICATE OF SERVICE

   I CERTIFY that a true and correct cor of2'tforegoing and the notice of hearing generated by ECF were served on
Counsel for the Debtor(s) on \0  I\1   ~O

and
By Mail:
DEBTORS
HESTER HOLT HENTON
LEROY HENTON
3330 NW 179TH ST
MIAMI GARDENS, FL




Via Electronic Service:
JOSE PAGAN, ESQUIRE


                                                                       NANCY K. NEIDICH, ESQUIRE
                                                                       STANDING CHAPTER 13 TRUSTEE
                                                                       P.O. BOX 27 80
                                                                       MIRAMAR,

                                                                       By: /s/----,,,__c-7---=--~------




                                                                        D Kenia Molina, Esq.
                                                                           FLORIDA BAR NO: 0085156

                                                                        D Amy Carrington, Esq.
                                                                          /FLORIDA BAR NO: 101877

                                                                        ~ Gianny Blanco, Esq.
                                                                           FLORIDA BAR NO: 78080

                                                                        D Nancy K. Neidich, Esq.
                                                                           FLORIDA BAR NO: 441856
